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13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,             Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                 DECLARATION OF HARRISON BECK
19 vs.                                          IN SUPPORT OF PLAINTIFF'S MOTION
                                                FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION dba                     COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee              Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated       Hon. Sean Riordan
   February 6, 2002,
24

25
                           Defendants.
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                                              1
      DECLARATION OF HARRISON BECK ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
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 1 I, Harrison Beck, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California. I am an associate

 5   attorney with Aqua Terra Aeris (“ATA”) Law Group, representing California Coastkeeper Alliance

 6   (“Plaintiff”) in the above referenced action.

 7          3.       I make this Declaration in support of Plaintiff’s Motion for Attorneys’ Fees and

 8   Costs, filed herewith. The facts set forth in this declaration are based on my personal knowledge,

 9   unless otherwise stated; if called to testify as a witness, I could and would competently testify

10   thereto under oath.

11      I. BIOGRAPHICAL INFORMATION

12          4.       In 2016, I graduated from Macalester College in St. Paul, Minnesota with degrees in
13 Environmental Studies and Political Science.

14          5.       In 2021, I graduated magna cum laude from Lewis & Clark Law School with a
15 certificate in Environmental and Natural Resources Law.

16          6.       I was admitted to practice law in the state of California in December 2021. I have
17 also been admitted to practice in the U.S. District Court for the Eastern District of California and the

18 U.S. Court of Appeals for the D.C. Circuit.

19          7.       I started working with ATA as an attorney in September 2023.
20          8.       Prior to working with ATA, I was an attorney with the Sierra Club for two years.
21          9.       With ATA, my practice focuses on public interest environmental law matters under
22 both state and federal jurisdictions. I work on a variety of issues, including matters involving federal

23 laws such as the Clean Water Act, the Clean Air Act, and the Resource Conservation and Recovery

24 Act (“RCRA”). On the state side, my practice includes matters involving the California

25 Environmental Quality Act (“CEQA”) as well as other California-specific environmental laws.

26          10.      My 2025 rate for attorney work in the Eastern District of California is $345 per hour.
27 Given my experience, skill, and reputation, my rates requested herein are reasonable.

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       DECLARATION OF HARRISON BECK ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                            COSTS
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 1          11.     Indeed, in July 2024, in Ecological Rights Foundation et al. v. Hot Line

 2 Construction, Inc. (5:20-cv-01108-AB-kk), the Central District of California recently found that a

 3 rate of $525 per hour was reasonable for my services. Even when compared to the relatively lower

 4 rates more common in the Eastern District of California, this rate reflects the reasonableness of the

 5 $345 hourly rate offered herein.

 6     II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

 7          12.     My main contribution towards this litigation related to Plaintiff’s claim of alter ego

 8 liability as to Carol Anderson Ward. In January 2024, I researched the pleading requirements for

 9 alter ego liability and piercing the corporate veil in California and the requirements for joining alter

10 ego parties. And I prepared a memorandum on this topic for use in this case.

11          13.     I also prepared a deposition subpoena for Carol Anderson Ward and prepared a set of

12 Requests for Admission regarding Ms. Ward.

13          14.     In April 2024, I also helped to amend the citations in Plaintiff’s Motion for Summary

14 Judgment to account for the Bates numbering.

15          15.     And in March 2025, I helped with the preparation of this fee motion.

16          16.     Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

17 records that document the time that I spent on this case. I personally and contemporaneously kept

18 these records using computer timekeeping software and amended them for clarity documenting the

19 hours I worked on this case for which I am seeking to recover an attorney’s fee award.

20

21          I declare, under penalty of perjury under the laws of the State of California that the
22 foregoing is true and correct. Executed on the Ninth of April 2025 in San Francisco, California.

23

24
                                                                  Harrison Beck
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                                              3
      DECLARATION OF HARRISON BECK ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
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Date      Client   Matter     Staff           Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                              Researching contact info for various events and preparing email to J.
                                              Flanders
                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center     Harrison Beck                                                                                     1.0    $345.00             $0.00                               $345.00                                         1

                                              Finding third-party subpoenas on shared files.

                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center     Harrison Beck                                                                                     0.9    $345.00             $0.00                               $310.50                                        0.9

                                              Prepping email to J. Flanders w/ third-party subpoenas

                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center     Harrison Beck                                                                                     0.3    $345.00           $103.50                                    $0.00                                      0

                                              Reviewing J. Flanders email and preparing notes template

                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center     Harrison Beck                                                                                     0.1    $345.00            $34.50                                    $0.00                                      0

                                              Researching pleading requirements for alter ego liability in California

                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Harrison Beck                                                                                     1.8    $345.00           $621.00                                    $0.00                                      0

                                              Researching procedural requirements for pleading alter ego liability in
                                              California
                   Murieta
                   Equestrian
   1/8/2024 CCKA   Center     Harrison Beck                                                                                     2.7    $345.00           $931.50                                    $0.00                                      0

                                              Researching need for joinder; researching need for separate notice;
                                              researching pleading requirements for piercing corporate veil
                   Murieta
                   Equestrian
   1/8/2024 CCKA   Center     Harrison Beck                                                                                     2.7    $345.00           $931.50                                    $0.00                                      0

                                              Drafting email to J. Flanders explaining findings re: research on
                                              procedural requirements for pleading alter ego liability in California
                   Murieta
                   Equestrian
   1/8/2024 CCKA   Center     Harrison Beck                                                                                     0.9    $345.00           $310.50                                    $0.00                                      0

                                              Drafting memo re: need for joinder, need for separate notice, piercing
                                              corporate veil procedure, pleading requirements for piercing corporate
                   Murieta                    veil; sending to J. Flanders; uploading to file
                   Equestrian
   1/8/2024 CCKA   Center     Harrison Beck                                                                                     0.9    $345.00           $310.50                                    $0.00                                      0

                                              Call w/ J. Flanders re: scope of research for piercing corporate veil
                                              memo
                   Murieta
                   Equestrian
   1/8/2024 CCKA   Center     Harrison Beck                                                                                     0.3    $345.00           $103.50                                    $0.00                                      0




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Date      Client   Matter     Staff           Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                              Drafting Carol Anderson Ward deposition subpoena

                   Murieta
                   Equestrian
   1/9/2024 CCKA   Center     Harrison Beck                                                                                      0.5    $345.00           $172.50                                    $0.00                                      0

                                              Editing veil piercing memo

                   Murieta
                   Equestrian
   1/9/2024 CCKA   Center     Harrison Beck                                                                                      0.3    $345.00           $103.50                                    $0.00                                      0

                                              Editing Carol Anderson Ward subpoena (to include date and time);
                                              preparing attachment A thereto.
                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Harrison Beck                                                                                      0.9    $345.00           $310.50                                    $0.00                                      0

                                              Call w/ TB about piercing corporate veil, need for expert analysis;
                                              sending TB memo
                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Harrison Beck                                                                                      0.1    $345.00             $0.00                                $34.50                                        0.1

                                              Preparing set two of requests for admission re: Carol Anderson Ward

                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Harrison Beck                                                                                      1.1    $345.00           $379.50                                    $0.00                                      0

                                              Updating requests for admission set 2 per call w/ J. Flanders

                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Harrison Beck                                                                                      0.3    $345.00           $103.50                                    $0.00                                      0

                                              Call w/ J. Flanders re: requests for admission set 2

                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Harrison Beck                                                                                      0.1    $345.00            $34.50                                    $0.00                                      0

                                              Email to J. Flanders to ask if more is needed on my end re: the requests
                                              for admission
                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Harrison Beck                                                                                      0.1    $345.00            $34.50                                    $0.00                                      0

                                              Calls w. J Flanders re: assignment to amend bates numbering citations

                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Harrison Beck                                                                                      0.1    $345.00             $0.00                                $34.50                                        0.1

                                              Amend citations in Motion for Summary Judgment to bates numbered
                                              citations and cite-check cites.
                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Harrison Beck                                                                                      2.0    $218.00           $436.00                                    $0.00                                      0




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Date      Client   Matter     Staff           Description                                                           Hours         Rate       Total               Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                              Call w/ J. Flanders re: amending citations

                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Harrison Beck                                                                                 0.1    $218.00             $21.80                                     $0.00                                      0

                                              Amend citations in Motion for Summary Judgment to account for Bates
                                              numbering and cite checking; ask E. Bustos to address issues with
                   Murieta                    Bates-numbering for Exhibits AAA, BBB, and CCC.
                   Equestrian
  4/10/2024 CCKA   Center     Harrison Beck                                                                                 1.9    $218.00            $414.20                                     $0.00                                      0
                                              Totals                                                                    19.1                         $5,357.00                               $724.50                                        2.1




                                                                                                      Page 3 of 3
